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16
                               UNITED STATES DISTRICT COURT
17                            NORTHERN DISTRICT OF CALIFORNIA
18                                SAN FRANCISCO DIVISION

19
     UNITED STATES OF AMERICA,                     Case No. 14-CR-00175-WHA
20
                                  Plaintiff,       PG&E’S RESPONSE TO ORDER TO
21                                                 SHOW CAUSE WHY FURTHER
                                                   CONDITION OF PROBATION
22          v.                                     SHOULD NOT BE IMPOSED
23   PACIFIC GAS AND ELECTRIC COMPANY,             Judge: Hon. William Alsup
24                                Defendant.
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                 PG&E’S RESPONSE WHY FURTHER CONDITION SHOULD NOT BE IMPOSED
                                    Case No. 14-CR-00175-WHA
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 1                  Defendant Pacific Gas and Electric Company (“PG&E”) respectfully submits this

 2   response to the Court’s February 18, 2021 order to show cause as to why Probation Condition 1

 3   should not be amended. (Dkt. 1308.)

 4                  On the understanding that the Court is proposing to amend Probation Condition 1

 5   to require PG&E to comply with CAL FIRE’s interpretation of California Public Resources

 6   Code section 4293 as set forth in CAL FIRE’s February 6, 2019 submission to the Court, PG&E

 7   does not object to the new proposed probation condition. (Dkt. 1012.) Probation Condition 1

 8   states that “the Court accepts CAL FIRE’s interpretation of Section 4293 as set forth in its
 9   February 6 submission (Dkt. No. 1012)”. (Dkt. 1040 at 1.) We understand CAL FIRE’s

10   February 6 submission to mean that not all trees subject to section 4293 that lean towards the line

11   constitute hazard trees that need to be abated. We further understand CAL FIRE’s submission to

12   mean that, in determining whether a tree constitutes a hazard requiring removal for purposes of

13   section 4293, “inspectors must use their professional judgment” based on the “specific

14   circumstances, on a case-by-case basis”. (Dkt. 1012 at 1.)

15                  PG&E agrees that a healthy tree may be a hazard tree based on the factual

16   circumstances specific to each tree. PG&E agrees to confirm to its vegetation management

17   personnel that healthy trees may be hazard trees and to ensure that its vegetation management

18   personnel are provided with and instructed to follow the guidance available from CAL FIRE for

19   applying section 4293, including CAL FIRE’s February 6 submission to this Court cited in

20   Probation Condition 1 and CAL FIRE’s field guide.

21                  With respect to the specific issue of leaning trees, PG&E shares the Court’s desire

22   to find a practicable solution that, assuming that the Zogg Fire was caused by the subject Gray

23   Pine, would have prevented the Zogg Fire. With that goal in mind, PG&E proposes the

24   following bright-line approach that would go beyond what is required under state law: as long as

25   CAL FIRE and the CPUC do not object, PG&E will institute a program to abate all Gray Pines

26   tall enough to fall into a distribution line in a Tier 2 or Tier 3 HFTD that lean more than

27   20 degrees towards the line in four regions (Bay Area, Central Valley, North Valley and Sierra)

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 1   and abate all Tanoaks tall enough to fall into a distribution line in a Tier 2 or Tier 3 HFTD that

 2   lean more than 20 degrees towards the line in three regions (Bay Area, Central Coast and North

 3   Coast). These trees will be targeted, regardless of health, because data shows that these

 4   particular species may present higher risk of falling into the line in these particular regions. The

 5   pace of the program would depend on the number of trees that need to be felled, but PG&E

 6   would attempt to get crews in the field doing this work as soon as practicable. As to other tree

 7   species, PG&E would continue with its broader enhanced vegetation management (“EVM”)

 8   effort, which addresses trees of all species in high-fire threat areas and goes beyond what is
 9   required by state law to reduce wildfire risk.

10                     Under EVM, PG&E is assessing every tree capable of striking the line using

11   criteria developed by certified arborists to determine which trees present a sufficiently elevated

12   risk such that they should be removed under the EVM program, regardless of health. As part of

13   that program, the lean of each tree is assessed and used in the determination. Under current

14   EVM standards, if a tree leans more than 25 degrees toward the line and is tall enough to fall into

15   the line, it is abated under EVM. Trees with a smaller lean are evaluated for potential abatement.

16   Given that EVM goes beyond the historical scope of routine vegetation management work, given

17   the many millions of trees that surround PG&E’s lines, and given that cutting trees with power

18   tools close to bare, energized conductors is specialized and dangerous work, we continue to

19   expect that the EVM program will continue to address about at least 1,800 miles per year. By

20   the end of this year, PG&E expects to have completed EVM—i.e., patrolled, worked and

21   100% work verified—for over 6,000 HFTD line miles, at a program cost of more than

22   $1.4 billion.

23                     PG&E will also move forward on the other initiatives it is implementing this year

24   to more aggressively address the potential for vegetation to strike its power lines in high-fire

25   threat areas, which were described to the Court on February 19, 2021. (Dkt. 1310.) This

26   includes expanding PSPS scoping criteria to account for open priority vegetation tags and

27   vegetation density; focusing enhanced vegetation management in the highest 20% risk circuits;

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 1   deploying 95 new VMI program inspectors that will provide in-field coaching of inspectors;

 2   deploying approximately 200 new work verification inspectors to provide 100% work

 3   verification of routine vegetation management patrols in high-fire threat areas; and the use of

 4   vehicle-based LiDAR scanning to check vegetation clearances in high-fire threat areas.

 5                  PG&E proposes the additional program to address leaning Gray Pines and

 6   Tanoaks knowing that launching such a program while it is also implementing all of the other

 7   in-progress vegetation management programs is likely to produce operational challenges that

 8   will have to be overcome, particularly in identifying and managing capable foresters and tree
 9   crew resources that can perform the needed work safely and with high quality. PG&E has

10   proposed this additional program for consideration by the Court, CAL FIRE and the CPUC

11   because, weighing the considerations, it believes this would be an appropriate way to address the

12   Court’s concern with leaning trees.

13                  PG&E looks forward to discussing the additional vegetation management

14   proposal regarding Gray Pines and Tanoaks with the Court and the other interested parties.

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 1   Dated: March 4, 2021                      Respectfully Submitted,

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